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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9    United States of America,                          No. CR-18-00223-TUC-RCC (DTF)
10                  Plaintiff,                           JUDGMENT OF ACQUITTAL
11    v.
12    Scott Daniel Warren,
13                  Defendant.
14
15          A jury trial having been held on Counts 2 and 3 of the Indictment filed herein and
16    presented against the above-named defendant charging violations of Title 8 U.S.C.
17    §1324(a)(1)(A)(iii), Harboring Illegal Aliens, and a verdict of Not Guilty having been
18    returned as to Counts 2 and 3 of the Indictment;
19          IT IS ORDERED the defendant, Scott Daniel Warren, is ACQUITTED,
20    discharged from pretrial supervision and the personal appearance bond exonerated.
21          Dated this 21st day of November, 2019.
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